                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:00CR174-3

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                        ORDER
                                    )
BRANDON RASHAD JACKSON,             )
                                    )
                  Defendant.        )
____________________________________)

       This matter is before the court upon Defendant’s Pro Se Motion to Correct Sentence

Pursuant to Rule 36 of the Federal Rules of Criminal Procedure, requesting the Court to enter a

schedule for the $4,123.00 in restitution that is part of his sentence. For good cause shown and

with no objection from the government, this motion is GRANTED.

       IT IS THEREFORE ORDERED that Defendant Brandon Rashad Jackson shall pay no

restitution while incarcerated. After his release, Defendant is to pay $50 per month of restitution

until the entire amount is paid off.




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                      Signed: November 22, 2005




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